Case 22-10609-amc          Doc 6-11 Filed 03/11/22 Entered 03/11/22 15:22:39              Desc
                             Certificate of Service Page 1 of 2


                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                            :   CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                   :   BANKRUPTCY NO. 22-10609(AMC)

                                Debtor        :


                                 CERTIFICATE OF SERVICE

         I, Robert W. Seitzer, Esquire, hereby certify that on the 11*’’ day of March, 2022 a true

and correct copy of the Motion of Debtor for Entry of an Order Authorizing the Rejection of

Executory Contracts Pursuant to 11 U.S.C. § 365 and Fed. R. Bankr. P. 6006 and Notice of

Motion, Response Deadline, and Hearing Date were served upon the parties on the attached in

the manner indicated thereon.



                                              KARALIS PC


                                              By:     /s/ Robert W. Seitzer____________
                                                      ROBERT W. SEITZER

                                                      Proposed Attorneys for the Debtor
Dated: March 11,2022
              Case 22-10609-amc          Doc 6-11 Filed 03/11/22 Entered 03/11/22 15:22:39              Desc
                                           Certificate of Service Page 2 of 2
VIA E-MAIL                                  George M. Conway, Esquire             Scungio Borst & Associates, LLC
                                            Office of the United States Trustee   Attn: Scott Scungio
                                            Custom House                          4 Manchester Road
                                            200 Chestnut Street, Suite 502        P.O. Box 203
                                            Philadelphia, PA 19106                Media, PA 19065


U.S. FIRST CLASS MAIL                       East Third Media, LLC                 KLS Logistics, Inc.
                                            c/o Wright Partners                   c/o DHL Supply Chain (USA)
                                            Attn: Carl Wright                     Attn: Legal Department
                                            20 South Olive Street, Suite 203      360 Westar Boulevard
                                            Media, PA 19063                       Westerville, OH 43082


Nerd St. Gamers Localhost Philadelphia      OASG Hazlet, LLC                      Scope FLP Pennington SM, LLC
Attn: John Fazio, CEO                       c/o Onyx Management Group, LLC        Attn: Didier Choukroun, Manager
908 North Third Street                      Attn: Samuel Giordano, CFO            One Biscayne Tower
Philadelphia, PA 19123                      900 Route 9 North, Suite 400          2 South Biscayne Boulevard, Suite 2000
                                            Woodbridge, NJ 07095                  Miami, FL 33131


Shopping Center Associates                  TKO 6 Corp a/k/a TKO Suites
c/o Simon Construction Group                1521 West Concord Pike
Attn: Michael E. McCarty, President         Suite 301
225 West Washington Street, 9th Floor       Wilmington, DE 19803
Indianapolis, IN 46204
